     1   THOMAS A. WILLOUGHBY, State Bar No. 137597
         FELDERSTEIN FITZGERALD
     2   WILLOUGHBY & PASCUZZI LLP
         400 Capitol Mall, Suite 1750
     3   Sacramento, CA 95814
         Telephone: (916) 329-7400
     4   Facsimile: (916) 329-7435

     5   Attorneys for Post Confirmation Liquidating Debtor

     6

     7
                                   UNITED STATES BANKRUPTCY COURT
     8
                                   NORTHERN DISTRICT OF CALIFORNIA
     9
                                          SAN FRANCISCO DIVISION
    10

    11   In re:                                         CASE NO.: 08-32514

    12   HELLER EHRMAN LLP,                             Chapter 11

    13                          The Liquidating         [NO HEARING REQUIRED]
                                Debtor.
    14
                     EXHIBIT TO POST-CONFIRMATION LIQUIDATING DEBTOR’S
    15              APPLICATION FOR AUTHORITY TO EMPLOY LONG & LEVIT LLP
                      AS SPECIAL COUNSEL; AND FOR AN ORDER TERMINATING
    16                     BOLLING & GAWTHROP AS SPECIAL COUNSEL
    17
          Exhibit                        Description
    18
          1                              Retention Agreement
    19
         Dated: June 14, 2018
    20
                                  FELDERSTEIN FITZGERALD
    21                            WILLOUGHBY & PASCUZZI LLP
    22
                                  By:/s/ Thomas A. Willoughby
    23                               THOMAS A. WILLOUGHBY
                                     Attorneys for the Post-Confirmation Liquidating
    24                               Debtor
    25

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                                                                                                         Exhibit to
                                                       -1-                  Application to Employ Special Counsel
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                        EXHIBIT 1


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                                    LONG & LEVIT LLP
                               465 California Street, Fifth Floor
                               San Francisco, California 94104
                                 Telephone: (415) 397-2222
                                 Facsimile:    (415) 397-6392

                                         June 11,2018
                          ATTORNEY-CLIENT FEE CONTRACT

This document is the attorney-client fee agreement (the “Agreement”) under which Long &
Levit LLP (“We”) will provide legal services to post-liquidation debtor Heller Ehi'man LLP
(“You”).

1.      EFFECTIVE DATE. The above date is for reference only. This Agreement will not
take effect, and We will have no obligation to provide legal services, until You return a signed
copy of this Agreement. The Agreement’s effective date, however, will be retroactive to the date
We first performed services. Even if this Agreement does not take effect. You will be obligated
to pay us the reasonable value of any services We have performed for You.

2.      SCOPE OF SERVICES. We will represent You in connection with regard to the
defense of creditor Paravue Corporation’s Claim No. 1019. We will not represent You with
regard to any other matter.

Unless We execute a different written agreement, this Agreement governs all services We
perform for You.

3.      YOUR DUTIES. You agree to be truthful with us, cooperate, keep us informed of
developments, abide by this Agreement, pay our bills on time, and keep us advised of your
address, telephone number, and whereabouts. This matter may require a substantial amount of
time to review documents and transcripts and prepare for hearings.

If We are fined or sanctioned by any court for your conduct or your failure to cooperate in
litigation or other legal proceedings. You agree to reimburse us for the amount of those
sanctions.

4.     CONFIDENTIALITY. It is in your best interest to preserve the confidentiality of all
communications between us. Your ability to protect the confidentiality of those communications
may be jeopardized if You disclose their contents to third parties.

5.      DEPOSIT. Given our relationship with You, We will not require a retainer/deposit for
fees so long as your promptly pay our bills for services consistent with paragraph 8 below.

6.     DEDUCTIBLE/SELF-INSURED RETENTION. You have informed us that insurance
coverage for the claims asserted against You in the matter described above, including the cost of
defense, will be afforded by Managing Partners Counsel (“MPC”), under a policy which




                                               1
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provides for a self-insured retention. We will not, however, provide adviee coneeming coverage
or issues relating to MFC.

7.     LEGAL FEES AND BILLING PRACTICES.

        a.      Responsible Party. By engaging us. You acknowledge and agree that You are
responsible for payment of fees, costs and other charges up to the amount of your self-insured
retention. Notwithstanding anything set forth in this contract, our firm will look solely to the
assets of the bankruptcy estate for payment of such fees and costs until the self-insured retention
is exhausted. Nothing herein shall create any personal liability on Michael Burkart’s part for
such fees and costs. Payment of fees and costs in this matter will be subject to approval of the
United States Bankruptcy Court.

        If and when the self-insured retention is exhausted, as an accommodation to You, We
agree to direct our bills to MFC. We agree that We owe our professional obligations solely to
You, even when MFC pays our bills.

        b.      Rates. You agree to pay on a monthly basis, when billed, all fees for legal
services at agreed upon hourly rates. The hourly rates of the attorneys and legal assistants
normally assigned to this matter are set forth in the attached Rate Schedule, which is
incorporated into this Agreement.

        c.     Specific Charges. We charge for the time spent on telephone calls relating to
your matter, including calls with You, opposing counsel, court personnel, experts, and others as
We believe is necessary. The legal personnel assigned to your matter will confer among
themselves about the matter, as required. When they do, each person charges for the time spent.
Likewise, if more than one of the legal personnel is required to attend a meeting, hearing, or
other proceeding, each charges for the time spent. We charge for waiting time in court and
elsewhere and for local and out-of-town travel time.

8.      COSTS AND OTHER CHARGES. We will incur various costs and expenses in
performing legal services for You. You agree to pay for those costs and expenses in addition to
the hourly fees. We may elect, but are not obligated, to incur costs on your behalf and seek
reimbursement from You. In some circumstances. You may be required to pre-pay such costs.
Certain bills for costs incurred will be forwarded directly to You for payment. You agree to pay
such costs in a timely manner. All charges for in-house costs will be included in our monthly
bill. You acknowledge having read, understood, and agreed to the rates for costs and expenses
set forth in the attached Rate Schedule, which is incorporated into this Agreement.

9.      BILLING. We will bill for legal fees and costs monthly. Your payment is due within
twenty (20) days after receiving the bill. Our bills will reflect current charges for professional
services rendered on an hourly basis, including all work performed by attorneys and legal
assistants. There will be variations in hourly rates depending upon which of the legal personnel
assigned to your matter perfonned the services. Our bills will also reflect cash disbursements
made by us for costs incurred on your behalf

10.    DISCHARGE AND WITHDRAWAL. You may discharge us at any time. We may
withdraw from representing You with your consent or for good cause. Good cause includes your


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breach of this Agreement (including your failure to pay bills and/or deposits), your refusal to
cooperate with us or to follow our advice, or any circumstance that would, in our opinion, render
our continued representation of You unlawful or unethical.

When our services conclude, all unpaid charges will immediately become due and payable.
After our services conclude. We will, upon your request, deliver your file to You as provided by
California law.

11.     TERMINATION. Our retention terminates absolutely when the work described above
in paragraph 2 is completed or We are discharged or withdraw. After this representation
terminates. We do not undertake or have a continuing duty to represent You or keep You
informed about any matters, facts, law, or developments which are or may be relevant to your
matter.

12.    DISCLAIMER OF GUARANTEE. Nothing in this Agreement and nothing in our
statements to You will be construed as a promise or guarantee about the outcome of your matter.
We make no such promises or guarantees. We make no representations or warranties concerning
the successful defense of your matter or the favorable outcome of any legal action that has been
or may be filed. We do not guarantee We will obtain reimbursement to You for any costs,
expenses, or other damages resulting from the subject matter of this representation. All of our
statements on any such matters are statements of opinion only.

13.    SETTLEMENT. We will only settle or otherwise resolve your matter with your
approval.

14.    INDEPENDENT COUNSEL. You understand your right to obtain, at your own
expense, independent legal counsel regarding this Agreement or any aspect of this matter. Your
signature below indicates that You either sought such advice or waive your right to do so.

15.     COUNTERPARTS. This Agreement may be signed in counterparts. Each counterpart
shall constitute a binding agreement upon each and all of the undersigned.

                         [The rest of this page intentionally left blank]




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                                     NOTICE TO CLIENT

  YOU HAVE THE RIGHT TO SEEK INDEPENDENT LEGAL ADVICE REGARDING
     THIS ATTORNEY-CLIENT FEE AGREEMENT. DO NOT SIGN THIS FEE
   AGREEMENT BEFORE YOU HAVE READ IT OR IF IT CONTAINS ANY BLANK
 SPACES TO BE FILLED IN. YOU ARE ENTITLED TO A COMPLETELY FILLED IN
                                COPY.

 By signing below, You acknowledge that You have the right to seek independent legal advice
 regarding this Agreement. By signing below, You further acknowledge that You have read and
 understood the terms of the Agreement, including those set forth on the attached Rate Schedule
 and agree to them, as of the date We first provided services.

 WHEREFORE, the parties to this Agreement, through their duly authorized representatives, have
 signed this attorney-client fee agreement on the date(s) which appear below:


 Dated:   ~)1/,(6'/'8      .


                                                By
                                                       Michael Burkhart, Administrator of the
                                                       Joint Plan of Liquidation of Heller
                                                       Ehnnan, LLP

 Dated:   lo f   l L f<LJ) \'B                  LONG & LEVIT LLP



                                                By




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                                         RATE SCHEDULE

Client:                    Heller Ehrman LLP

Matter:                    Paravue Corporation

Hourly Rates:

          Partners                               $450
          Assoeiates                             $350
          Legal Assistants                       $195

          We charge for our time in minimum units of 0.1 hours.

Current Costs And Expenses:

          In-Office Reprographics                $0.10 per page non-color; $0.25 per page color

          Mileage                                IRS Rate

          Facsimile                              $.25 per page outgoing only

          Messenger                              Actual Cost

          Long Distance Telephone                Actual Cost

          Information Databases                  Actual Billed Cost

          Dialog                                 Actual Cost

Subject To Change:

          The rates on this schedule are subject to change on thirty (30) days written notice. If You
          decline to pay any increased rates, We will have the right to withdraw as your lawyers.


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